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                                    Case No. 22-4054

                    United States Court of Appeals
                         for the Tenth Circuit
 CVB, Inc.
                                                                   Plaintiff and Appellant,

 v.

 Elite Comfort Solutions, Inc., et al.
                                                              Defendant and Appellant.



                          From The United States District Court,
                                   District of Utah,
                             Case No. 1:20-cv-00144-DBB,
                                 Hon. David B. Barlow



  RESPONSE TO MOTION TO TAKE JUDICIAL NOTICE OF DEFECT IN
     APPELLATE JURISDICTION AND FOR ORDER DIRECTING
               PLAINTIFF-APPELLANT TO CURE


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       Over 10 months after the District Court issued its order dismissing Appellant

 CVB, Inc.’s (“CVB”) First Amended Complaint (“FAC”), Appellees Elite Comfort

 Solutions, Inc., Future Foam, Inc., FXI Holdings, Inc., Leggett & Platt, Inc., Serta

 Simmons Bedding, LLC, Tempur Sealy International, Inc., and Brooklyn Bedding,

 Inc. (collectively, “Appellees”) raise for the first time an argument that this Court

 lacks appellate jursidiction. Appellees make this argument despite their prior

 contrary concession, case law, statute, and facts establishing this Court’s

 jurisdiction.

                                           I.
                                    DISCUSSION
       The District Court issued a Memorandum Decision and Order dismissing

 CVB’s FAC on May 23, 2022. App. Vol. V at 1240. Although the District Court

 dismissed certain claims with prejudice and dismissed the remaining claims without

 prejudice (id.), the District Court did not grant CVB’s request for leave to amend the

 FAC (id.; see App. Vol. V at 1157 (Plaintiff’s Opposition to Defendants’ Mot. to

 Dismiss FAC (requesting in the alternative that the District Court grant CVB leave

 to amend the FAC))). CVB timely filed a Notice of Appeal on June 21, 2022 (see

 App. Vol. V at 1241-43), and on July 8, 2022, the District Court certified “that the

 record is complete for the purposes of appeal” (Doc. No. 10925177).

       In its Opening Brief filed in this Court on September 15, 2022, CVB included

 a Statement of Jurisdiction, which states in pertinent part: “This Court has appellate

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 jurisdiction under 28 U.S.C. § 1291 because Plaintiff appeals from a final judgment,

 entered on May 23, 2022, which disposed of all of Plaintiff’s claims, and Plaintiff

 timely filed a notice of appeal on June 21, 2022.” Opening Br. at 4. In Appellees’

 Brief filed October 17, 2022, Appellees categorically conceded: “CVB’s Statement

 of Jurisdiction adequately describes the basis for jurisdiction.” Ans. Br. at 5. Over

 five months after making this concession—and over 10 months after the District

 Court issued the Memorandum Decision and Order dismissing CVB’s FAC—

 Appellees “detected a jurisdictional defect in Plaintiff-Appellant’s appeal to this

 Court.” Mot. to Take Judicial Notice of Defect in Appellate Jurisdiction and for

 Order Directing Plaintiff-Appellant to Cure at 1.

       In fact, the District Court’s Memorandum Decision and Order dismissing

 CVB’s FAC is a final and appealable order under Moya v. Schollenbarger, 465 F.3d

 444 (10th Cir. 2006) and Federal Rule of Civil Procedure 15(a)(2).               Indeed,

 Appellees conceded this Court’s jurisdiction in their brief. If, however, the Court

 determines that the District Court’s Memorandum Decision and Order is not a final

 order, that Appellees did not waive the issue of jurisdiction, and that a certification

 under Federal Rule of Civil Procedure 54(b) is necessary to perfect this appeal, CVB

 will not oppose obtaining a Rule 54(b) certification.

 A.    The District Court’s Memorandum Decision and Order Is A Final
       Decision and Is Thus Appealable
       Appellees’ Answering brief stated that “CVB’s Statement of Jurisdiction

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 adequately describes the basis for jurisdiction.” Ans. Br. at 5. Although Appellees

 now argue that this Court lacks jurisdiction, their original analysis was correct. The

 District Court’s Memorandum Decision and Order dismissing CVB’s FAC is a final

 and appealable order under Moya and Federal Rule of Civil Procedure 15(a)(2).

       In Moya, the Court of Appeal identified four categories of dismissal orders.

 “First, if a district court order expressly and unambiguously dismisses a plaintiff’s

 entire action, that order is final and appealable.” 465 F.3d at 450 (citation omitted).

 “Second, where a district court dismissal expressly denies the plaintiff leave to

 amend, or the district court’s grounds for dismissal are such that the defect cannot

 be cured through an amendment to the complaint, that dismissal (even if it is

 ambiguous or nominally of the complaint) is for practical purposes of the entire

 action and therefore final.” Id. at 450–51 (emphasis in original) (collecting cases).

 Third, when the dismissal order expressly grants the plaintiff leave to amend, . . .

 the dismissal is thus not a final decision.”      Id. at 451 (emphasis in original)

 (collecting cases). Fourth and finally, Moya states that “in all other cases, we look

 to the language of the district court’s order, the legal basis of the district court’s

 decision, and the circumstances attending dismissal to determine ‘the district court’s

 intent in issuing its order—dismissal of the complaint alone or actual dismissal of

 plaintiff’s entire action.’” Id. (quoting Petty v. Manpower, Inc., 591 F.2d 615, 617

 (10th Cir. 1979)). “If the effect of the district court order is that the plaintiff is



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 effectively excluded from federal court, then the district court must have intended to

 dismiss the entire action and our appellate jurisdiction is proper.” Id. (internal

 quotation marks omitted). Here, the District Court’s Memorandum Decision and

 Order falls squarely into the fourth category of dismissal orders. Under Moya, both

 “the language of the District Court’s order” and “the circumstances attending

 dismissal” demonstrate that the District Court intended to dismiss the CVB’s entire

 action—not just the FAC alone.

       Here, although the District Court of Utah dismissed certain claims with

 prejudice and dismissed the remaining claims without prejudice, the District Court

 did not grant CVB leave to amend the FAC. See generally App. Vol. V at

 1184-1240; see also App. Vol. V at 1157 (Plaintiff’s Opposition to Defendants’ Mot.

 to Dismiss (requesting in the alternative that the District Court grant CVB leave to

 amend the FAC)). Accordingly, CVB may amend “its pleading only with the

 opposing party’s written consent or the court’s leave.” Fed. R. Civ. P.

 15(a)(2). Here, the district court did not grant CVB leave to amend the FAC, despite

 CVB specifically requesting this relief and Appellees’ instant motion requesting a

 judgment be entered against CVB should be construed as their refusal to consent to

 leave to amend the FAC. As such, CVB has been denied leave to file a Second

 Amended Complaint, and the ruling on the Motion to Dismiss accordingly should

 be deemed to have finally disposed of the case so that it would not be subject to



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 further proceedings in federal court.

       Additionally, this Court has already deemed the District Court’s order final

 by scheduling the instant appeal for oral argument. In cases where “the district court

 case is still ongoing at the time the appeal reaches this court’s attention,” and no

 Rule 54(b) certification has been obtained, this Court has “adopt[ed] the practice of

 notifying the parties of [its] observation of the apparent jurisdictional defect and

 giving them a date certain by which to secure Rule 54(b) certification.” Lewis v.

 B.F. Goodrich Co., 850 F.2d 641, 645 (10th Cir. 1988). Because the Court issued

 no such notification, the Court has impliedly determined that the lower court’s

 decision is final and that the Court has jurisdiction.

       For these reasons, the District Court’s underlying order is final, and the Tenth

 Circuit has appellate jurisdiction.

 B.    Appellees Have Failed to Raise This Issue Before Oral Argument Was
       Scheduled
       The District Court’s Memorandum Decision and Order Granting Defendants’

 Motion to Dismiss was issued on May 23, 2022. App. Vol. I at 27. CVB timely

 filed a Notice of Appeal on June 21, 2022. Id. On July 8, 2022, the District Court

 certified “that the record is complete for the purposes of appeal.” Doc. No.

 10925177. CVB filed its Opening Brief on September 15, 2022 (Doc. No.

 10941162); Appellees filed their Brief on October 17, 2022 (Doc. No. 10948383);

 and CVB filed its Reply Brief on November 7, 2022 (Doc. No. 10953473). On

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 January 11, 2023, the Court scheduled oral argument for March 22, 2023. Doc.

 No. 10968547.

       Appellees have failed to raise the issue of finality in the more than 10 months

 that have elapsed since the District Court rendered its final decision. Moreover,

 Appellees waived the issue of jurisdiction when they stated, “CVB’s Statement of

 Jurisdiction adequately describes the basis for jurisdiction.” Ans. Br. at 5.

 C.    If this Court Determines the Lower Court’s Order Is Not Final, CVB
       Will Not Oppose a Rule 54(b) Certification
       If the Court of Appeals makes the determination that the District Court’s

 Memorandum Decision and Order is not a final order, that Appellees did not waive

 the issue of jurisdiction, and that a Rule 54(b) certification is necessary to perfect

 the appeal, CVB will not oppose obtaining a Rule 54(b) certification.



 Dated: April 3, 2023                LARSON LLP


                                     By:     /s/ Stephen G. Larson
                                           Stephen G. Larson
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                                     Attorneys for Plaintiff-Appellant, CVB, Inc.




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         CERTIFICATE OF SERVICE AND DIGITAL SUBMISSION

       I hereby certify that on April 3, 2023, I electronically filed the foregoing

 with the Clerk of the Court for the United States Court of Appeals for the Tenth

 Circuit by using the appellate CM/ECF system.

       I certify that all participants in the case are registered CM/ECF users and

 that service will be accomplished by the appellate CM/ECF.

       I also certify that any required privacy redactions have been made.



 Dated: April 3, 2023                LARSON LLP


                                     By:     /s/ Stephen G. Larson
                                           Stephen G. Larson
                                     Attorney for Plaintiff-Appellant, CVB, Inc.




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